Case 0:19-cv-62713-RS Document 26 Entered on FLSD Docket 04/21/2020 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                    CASE NO.: 0:19-cv-62713



  ALBERTO VENEREO,


            Plaintiff,

  v.
  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC, and
  INPHYNET SOUTH BROWARD,
  LLC.


          Defendant.
  _____________________________/

                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        COME NOW, Plaintiff, Alberto Venereo, Defendant, Healthcare Revenue Recovery

 Group, LLC, and Defendant, Inphynet South Broward, LLC by and through their undersigned

 counsel, and would represent to the Court that this action has been resolved, and would request

 entry of an Order dismissing this matter with Prejudice, each party to bear their own costs and

 attorneys’ fees.

        Dated this 21st day of April, 2020.

  /s/Jibrael S. Hindi                         /s/ Skohlmyer@shepardfirm.com
  Jibrael S. Hindi, Esquire                   Ernest H. Kohlmyer, III, Esquire
  Florida Bar No. 118259                      Florida Bar No. 110108
  jibrael@jibraellaw.com                      Skohlmyer@shepardfirm.com
  Thomas J. Patti , Esquire                   Shepard, Smith, Kohlmyer & Hand, P.A.
  Florida Bar No.: 118377                     2300 Maitland Center Parkway, Suite 100
  tom@jibraellaw.com                          Maitland, Florida 32751
  The Law Offices of Jibrael S. Hindi         Telephone (407) 622-1772
  110 SE 6th Street, Suite 1744               Facsimile (407) 622-1884
  Fort Lauderdale, Florida 33301              Attorneys for Defendant
Case 0:19-cv-62713-RS Document 26 Entered on FLSD Docket 04/21/2020 Page 2 of 3



  Telephone: 954-907-1136
  Facsimile: 855-529-9540
  Attorneys for Plaintiff

  /s/ Paul Herman                      /s/ John Gaset
  Paul Herman, Esq.                    John Gaset, Esq.,
  Florida Bar No. 405175               Florida Bar No. 98415
  paul@consumeradvocatelaw.com         john.gaset@dinsmore.com
  Consumer Advocates Law Group, PLLC   Dinsmore & Shohl LLP
  4801 Linton Blvd., Ste. 11A-560      201 North Franklin Street, Suite 2760
  Delray Beach, FL 33445               Tampa, FL 33602
  Telephone: 561-236-8851              Telephone: (813) 543-9822
  Facsimile: 561-431-2352              Facsimile: (813) 543-9849
  Attorneys for Plaintiff              Attorneys for Defendant, Inphynet South
                                       Broward, LLC

  /s/ Joel A. Brown
  Joel A. Brown, Esq.
  Florida Bar No.: 66575
  joel.brown@friedmanandbrown.com
  Friedman & Brown, LLC
  3323 NW 55th Street
  Fort Lauderdale, Florida 33309
  Phone: (954) 966-0111
  Attorneys for Plaintiff
Case 0:19-cv-62713-RS Document 26 Entered on FLSD Docket 04/21/2020 Page 3 of 3



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

 April 21, 2020, via the Court Clerk’s CM/ECF system which will provide notice to the following:

 Jibrael S. Hindi, Esquire of The Law Offices of Jibrael S. Hindi at jibrael@jibraellaw.com; Paul

 Herman,      Esquire     of     Consumer       Advocates      Law      Group,     PLLC.       at

 paul@consumeradvocatelaw.com; and Joel A. Brown, Esquire of Friedman & Brown, LLC at

 joel.brown@friedmanandbrown.com (Attorneys for Plaintiff), John P. Gaset, Esquire of Dinsmore

 & Shohl at John.Gaset@Dinsmore.com; jessica.lovins@nelsonmullins.com (Attorneys for

 Defendant Inphynet South Broward, LLC).



                                             /s/ Ernest H. Kohlmyer, III
                                             Ernest H. Kohlmyer, III, Esquire
                                             Florida Bar No.: 110108
                                             skohlmyer@shepardfirm.com
                                             Rachel M. Ortiz
                                             Florida Bar No. 083842
                                             rortiz@shepardfirm.com
                                             Shepard, Smith, Kohlmyer & Hand, P.A.
                                             2300 Maitland Center Parkway, Suite 100
                                             Maitland, Florida 32751
                                             Telephone (407) 622-1772
                                             Facsimile (407) 622-1884
                                             Attorneys for Defendant, Healthcare
                                             Revenue Recovery Group, LLC
